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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Eastern Division

UNITED STATES OF AMERICA

 

-vs- Case No. 1: 05cr10027- LM$£{£“/ (H'{£U/"./

COLLIS PAUL LANCASTER, JR.

 

ORDER OF DETENT|ON PEND|NG TRIAL
FIND|NGS
ln accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

DlRECT|ONS REGARD|NG DETENT|ON

COLLIS PAUL LANCASTER, JR. is committed to the custody of the Attomey General or his designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal. COLL!S PAUL LANCASTER, JR. shall be afforded a
reasonable opportunity for private consultation With defense counsel. On order of a Court of the United States or on
request of an attorney for the govemment, the person in charge of the corrections facility shall deliver the Defendant
to the United States marshal for the purpose of an appearance in connection with a Court proceeding.

Date: May 3, 2005 Mflu C;ZA__/

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 1:05-CR-10027 was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

